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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FORT SMITH DIVISION



UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                              CASE NO. 2:23CR20015-001

ISAAC BISHOP CHARLES                                                           DEFENDANT

                                          ORDER

       The Court ADOPTS the report and recommendation (Doc. 43) entered in this case and

accepts Defendant’s plea of guilty to Count 2s of the superseding indictment. The Defendant is

hereby adjudged GUILTY of the offense.

       IT IS SO ORDERED this 3rd day of May, 2024.


                                                         /s/P. K. Holmes ΙΙΙ
                                                         P.K. HOLMES III
                                                         U.S. DISTRICT JUDGE
